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                  UNITED STATES DISTRICT COURT

                  SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION

UNITED STATES OF AMERICA,         )
                                  )
v.                                )           CR419-106
                                  )
JIMMY ALEXANDER PUJOLS,           )
                                  )
     Defendant.                   )

                                ORDER

     Defendant Jimmy Alexander Pujols seeks to modify the Protective

Order, doc. 61, that the Court entered in this case.       Doc. 66.      The

Government opposes. Doc. 73.1 In particular, defense counsel requests

permission to leave discovery materials with his client, to avoid having to

“sit with the Defendant while he combs through each individual

[document produced], a painfully slow and time consuming process.”

Doc. 66 at 1. His proposed solution is to amend the protective order to

empower the Assistant United States Attorney to exercise her discretion

to allow defendant to “retain discovery materials which do not contain


1
 The Court previously directed the parties to confer in an effort to
resolve this dispute by agreement. Doc. 69. The Court presumes from
the dueling filings that the parties were unable to do so.
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any dangerous identifying or compromising information or material.”

Id. at 2.

      The Government’s response implies that, contrary to defendant’s

suggestion that much of the discovery material is “mundane,” the

discovery material “[e]ven if redacted,” includes information posing

“inherent risks to privacy and safety interests of the parties and persons

who are not parties to the litigation.” Doc. 73 at 2. Based on those risks,

defense counsel’s interest in his time being “well spent” is substantially

outweighed. Id.

The Court might construe the Government’s opposition as mooting,

rather than opposing, defendant’s motion. After all, the modification

that defendant seeks would only allow the Assistant United States

Attorney to exercise her discretion about which materials might be left in

defendant’s custody. See doc. 66 at 2. Her opposition certainly implies

that she has exercised that discretion already and determined that none

of the discovery materials are sufficiently innocuous to be left in

defendant’s custody. Regardless, the Court agrees with the Government

that convenience and economy must give way to concerns for physical

safety. Accordingly, defendant’s motion is DENIED. Doc. 66.



                                     2
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SO ORDERED, this 13th day of December, 2019.

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                                          opher L. Ray
                                         dS
                                    United  States Magistrate Judge
                                    Southern District of Georgia




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